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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )       ORDER
               Plaintiff,                      )
                                               )
       vs.                                     )
                                               )       Case No.: 1:16-cr-192
Tomika Wauneka,                                )
                                               )
               Defendant.                      )


       Defendant's arraignment set for September, 2016, at 11:00 a.m. CDT before the undersigned

is cancelled. It shall be rescheduled at a later date and time.

       IT IS SO ORDERED.

       Dated this 29th day of August, 2016.


                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr.
                                                       United States Magistrate Judge
